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 UNITED STATES BANKRUPTCY
 COURT DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

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 Attorneys for Talc Committee Claimaint
 Katherine Tollefson

 In Re:
                                                      Case No. 21-30589 (MBK)
          LTL Management LLC,                         Chapter 11
                Debtor.                               Honorable Michael B. Kaplan, U.S.B.J., Chief




                                    NOTICE OF APPEARANCE

       Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the undersigned enters an

appearance in this case on behalf of Talc Committee Claimant Katherine Tollefson. Request is made that

the documents filed in this case and identified below be served on the undersigned at this address:

       ADDRESS:               Clayton L. Thompson, Esq.
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       DOCUMENTS:

       X All notices entered pursuant to Fed. R. Bankr. P. 2002.

       X All documents and pleadings of any nature.

Date: March 30, 2022
                                                     /s/ Clayton L. Thompson
                                                         Signature
